                      Case 2:10-cr-00242-MHT-KFP Document 214 Filed 05/22/12 Page 1 of 7

   AO 245B       (Rev, 09/I1) Judgment in a Criminal Case
   vi            Sheet I


                                              UNITED STATES DISTRICT COURT
                                                            MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                                                                        (WO)
                                      V.

VERONICA DENISE DALE                                                                 Case Number: 2:10cr242-MEF-01
                                                                             )       USM Number: 13381002

                                                                                      Thomas M. Go9gans
                                                                                     betendauCi Attorney
   THE DEFENDANT:
      pleaded guilty to COUflt(S)          1 9,10, 27, 28 of the Indictment on 10/14/2011
   El pleaded nolo conlendere to count(s)
      which was accepted by the court,                 --
   El was found guilty on count(s)
      after plea ofnot guilty.                                                             --

   The defendant is adjudicated guilty of these offenses:

   Title & Section                   Nature of Offense                                                       Offense Ended             Count

    18286                              Conspiracy to Defraud the Government w/Respect to Claims               4/1/2011

    18287                              False, Fictitious or Fraudulent Claims                                 4/1/2011                   9

    18287                              False, Fictitious or Fraudulent Claims                                 4/1/2011                   10

    18641                              Theft of Government Money, Property, or Records                        4/1/2011                   27

    18641                              Theft of Government Money, Property, or Records                        4/1/2011                   28
      See additional count(s) on page 2

         The defendant is scntcnccd as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
   Sentencing Reform Act of 1984.
   El The defendant has been found not guilty on count(,,,)

      Count(s) 2-8,11-26,29-30 of Indictment                  El is   tare dismissed on the notion of the United Slates,

            It is ordered that the defendant oust notify the United States attorney tom this district within 30 days of any chan ge of n inie resldenLL
   ormailing address until all fines, restitution, costs, and spccial assessments imposed by this judgment are luily paid. Ifordered to pay restitution,
   the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            May 8, 2012
                                                                            Paut of Imposition ofjudgnien:




                                                                            Signature of Judge

                                                                            Mark E. Fuller, United States District Court
                                                                            Name of JILdgC                          Title of Judge


                                                                                       - 2_Z_AA_,47 t_jL
                                                                             t)ale
                      Case 2:10-cr-00242-MHT-KFP Document 214 Filed 05/22/12 Page 2 of 7

AO 245B          (Rev. 09/11) Judgment in a Criminal Case
vi               Sheet 2— lmpnsonment

                                                                                                                        Judgment Page. 2 of 7
     DEFENDANT: VERONICA DENISE DALE
     CASE NUMBER: 2:10cr242-MLF-0I


                                                                    IMPRISONMENT

             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
     Two Hundred Forty (240) Months. This term consists of 120 months on each of counts 1, 27 and 28, to run concurrently; 60
     months on count 9 and 60 months on count 10 to be served consecutively to each other and consecutively to term of
     imprisonment imposed on counts 1, 27 and 28. The 94 months term of imprisonment imposed in Cr No. 2:11 cr69MEF shall
     run consecutive to the 240 months term of imprisonment imposed in this case, for a total term of 334 months.

         Wf The court makes the following recommendations to the Bureau of Prisons:

      1) The court recommends that the defendant be designated to a facility where intensive residential substance abuse
     treatment is available. The Court further recommends that defendant be designated to a facility where intensive mental health
     treatment is available.

              The defendant is remanded to the custody of the United States Marshal.

              The defendant shall surrender to the United States Marshal for this distriet:

              E at ________ ________ .                      LI am. LI p.m. on

              LI as notified by the United States Marshal.

         El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              LI before                  on

              LI as notified by the United States Marshal.

              El as notified by the Probation or Pretrial Services Office.



                                                                          RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                              to

     a                                                        with a certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL


                                                                                  By
                                                                                                        DEPUTY UNITED STATES MARSHAL
                        Case 2:10-cr-00242-MHT-KFP Document 214 Filed 05/22/12 Page 3 of 7

AO 245B            (Rev. 091I1) Judgment in a Criminal Case
V1                 Sheet 3 - Supervised Release


 DEFENDANT: VERONICA DENISE DALE                                                                                              Judgment Page: 3 of 7
 CASE NUMBER: 2:1 0cr242-MEF-0 I
                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years. This term of supervised release consists of three years on each of counts 1,9,10,27 and 28, all such terms to run
 concurrently with each other and to the 3 years term of supervised release imposed in 2:11cr69-MEF.
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
               The defendant shall not commit another federal, state or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable)

     LI The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)

     U The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, etseq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable)

     U The defendant shall participate in an approved program for domestic violenee. (Check, if applicable)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency direeted by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for sehooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substanee or any paraphernalia related to any controlled substances, except as prescribed by a physieian;
        )     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons enuaed in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the proation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforeenent officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

      13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendants compliance with such notification requirement.
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AO 245R        (Rev. 09/11) Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release


                                                                                                          Judgment Page: 4 of 7
 DEFENDANT: VERONICA DENISE DALE
 CASE NUMBER: 2:10cr242-MEF-01

                                             SPECIAL CONDITIONS OF SUPERVISION
     1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
     may include testing to determine whether the defendant has reverted to the use of illegal drugs. The defendant shall
     contribute to the cost of any treatment based on ability to pay and the availability of third-party payments.

     2) The defendant shall submit to a search of her person, residence, office and vehicle pursuant to the search policy of this
     cc rt.

     3) The defendant shall provide the probation officer any requested financial information.

     4) The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
     in compliance with the payment schedule.

     5) The defendant shall participate in a mental health treatment program approved by the United States Probation Office
     and shall contribute to the cost based on ability to pay and the availability of third-party payments.
                      Case 2:10-cr-00242-MHT-KFP Document 214 Filed 05/22/12 Page 5 of 7

AD 245B          (Rev. 09111) Judgment in a CriminaL Case
vi               Sheet 5—Criminal Monetary Penalties

                                                                                                                        Judgment Page: 5 of 7
     DEFENDANT: VERONICA DENISE DALE
     CASE NUMBER: 2:10cr242-MEF-01
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                           Assessment                                         Fine                            Restitution
     TOTALS            $ 500.00                                           $                                 S $2,326,738.08


     L The determination of restitution is deferred until                     - An Amended Judgment in a Criminal Case (AD 245C) will be entered
         after such determination.

     El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to IS U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                    Total Loss*                Restitution Ordered Priority or Pereentae

      IRS-RAGS                                                                                          $2,326,738.08
      Attention: Mail Stop 6261

      Restitution

      333 West Pershing Avenue
      Kansas City, Missouri 64108




 TOTALS                                                                                  $0.00          $2,326,738.08


 E Restitution amount ordered pursuant to plea agreement $

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 I?( The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the         E fine       V restitution.
              the interest requirement for the         LI fine        restitution is modified as follows:



 * Findings for the total anDunt of losses are required under Chatters 109A, 110, 1 bA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                   Case 2:10-cr-00242-MHT-KFP Document 214 Filed 05/22/12 Page 6 of 7

AO 245B       (Rev. 09111) Judgment in a Criminal Case
V]            Sheet 6— Schedule of Payments

                                                                                                                         Judgment Page: 6 of 7
 DEFENDANT: VERONICA DENISE DALE
 CASE NUMBER: 2:10cr242-MEF-01


                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of S 2,327238.08                  due immediately, balance due

                  not later than                                   , or
                  in accordance El C, El D,                          E, or           F below; or

 B n Payment to begin immediately (may be combined with                      El C,           D, or   NO below); or
 C    F Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                     (e.g., months or years), to   commence                      (e.g., 30 or 60 days) after the date of this judgment;  or

 D          Payment in equal                       (e.g., weekly, monthly, quarterly) installments of S                          over a period of
                       - (e.g., months or years), to commence         --             (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E F Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based oil assessment
                                                                            --  of the defendant's ability to pay at that time; or

 F    W Special instructions regarding the payment of criminal monetary penalties:
            Any balance of restitution at the start of supervision shall be paid at a rate not less than $100 per month.
            Payments to be made to the United States District Court clerk for distribution to the victim.
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.


 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       SEE SHEET 6A




 E The defendant shall pay the cost of prosecution.

 El The defendant shall pay the following court cost(s):

 E The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                  Case 2:10-cr-00242-MHT-KFP Document 214 Filed 05/22/12 Page 7 of 7

AO 245B       (Rev. 09/fl) Judgment in a Criminal Case
vi            Sheet 6A—Schedule of Payments

                                                                                                           Judgment Page. 7 of 7
DEFENDANT: VERONICA DENISE DALE
CASE NUMBER: 2: 10cr242-MEF-01

          ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                          Joint and Several        Corresponding Payee,
(including defendant number)                             Total Amount            Amount                if appropriate

     Veronica Denise Dale
     2:1 0cr242-MEF-0 I                                   $2,326,738.08      $2326738.08 IRS-RACS


     Aichico Dewayne Grant                                                                    IRS-RACS
     2:1 0cr242-MEF-02                                    $2,326,738.08      $2,326,738.08


     LaQuanta Grant -                                                                         I RS-RACS
     2:1 0cr242-MEF-03                                    $2,326,738.08      $2,326,738.08


     Isaac C. Dailey -                                                                        I RS-RACS
     2:1 0cr242-MEF-04                                       $88,336.00         $88,336.00


     Leroy Howard -                                                                           IRS-RACS
     2: 10cr242-MEF-05                                       $89,322.00         $89,322.00


     Wendy Deibridge -                                                                        I RS-RACS
     2:10cr253-WKW-01                                        $45,219.00         $45,219.00


     Betty Washington -                                                                       IRS-RACS
     2:10cr254-WKW-01                                     $1,440,632.00      $1,440,632.00
